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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

K.O., and E.O., Jr. by and through their parents
and next fiends, E.O. and L.J.; and C.J., by and
through his father and next friend F.C.,

                         Plaintiffs,                        Civil Action No. 20-12015-MRG
       v.

UNITED STATES OF AMERICA,

                         Defendant.



                                PROTECTIVE ORDER
                        REGARDING CONFIDENTIAL INFORMATION

       1.         The Court having determined that there is good cause for issuance of a protective

order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure to govern the disclosure, use,

and handling by the parties and their respective agents, successors, personal representatives and

assignees of certain information and items produced and received in discovery in this action, IT

IS HEREBY ORDERED as follows:

       A.         Definitions

       1.                                                 K.O., et al. v. United States of America,

Civil Action No. 20-cv-12015-MRG.

       2.

production in discovery in the Action, or thereafter, is designated confidential by the Producing

Party (as defined by Section A(7) of this Protective Order) because of a good faith belief that the

information is:

       a. a trade secret or other confidential research, development, or commercial information

            as such terms are used in Federal Rule of Civil Procedure 26(c)(1)(G);
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b. personal financial, medical or other private information relating to an individual that

     would properly be redacted from any public court filing pursuant to Federal Rule of

     Civil Procedure 5.2., including any document, information, or tangible thing protected

     by the provisions of the Family and Educational Rights and Privacy Act, 20 U.S.C. §

     1232g, 34 C.F.R. Part 99; certain individually identifiable health information (defined

     as health

     number, or other identifying number, including Health Insurance Claim (HIC)

     number) that may be subject to the provisions of the Privacy Act, 5 U.S.C. § 552a; the

     provisions of 45 C.F.R. §§ 164.102-164.534 (regulations promulgated pursuant to the

     Health Insurance Portability and Accountability Act (HIPAA)); or health information

     for which there may be no waiver by the patient to produce the records to an entity

     outside one of the Parties;

c. information protected by the provisions of the Privacy Act of 1974, 5 U.S.C § 552a

     (the "Pri           ;

d.

     protected by the Privacy Act or any other information or documents that would be

     covered by the Privacy Act if the subject of the information had been a U.S. citizen or

     a person lawfully admitted for permanent residence;

e.

     staffing, resources, intelligence and/or methods (including the names and contact

     information of third parties, and non-supervisory federal and non-federal employees),

     the release of which to the public may adversely impact identifiable law enforcement

     or national security interests;



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       f. information pertaining to applications for asylum or withholding of removal,

            protection under the Convention against Torture, or claims of credible or reasonable

            fear, which are subject to disclosure conditions under 8 C.F.R. §§ 208.6, 1003.27(c)

            and 1208.6(a), as well as information pertaining to: (1) applications for Temporary

            Protected Status under 8 U.S.C. § 1254a; and (2) information that relates to an alien

            who is the beneficiary of an application for relief under 8 U.S.C. §§ 1101(a)(15)(T),

            (15)(U), (51) or 1229b(b)(2).

       g. To the extent that discoverable information about any Plaintiff is covered by the

            disclosure of information provisions of 8 U.S.C. §1367(a)(2), the Defendants are

            ordered to release it to the Plaintiffs, their attorney(s) and related personnel assisting

            in their case, and any Court involved in this or related proceedings and its personnel

            as confidential information, despite the limits on disclosure contained in that

            provision; and

       h. any other information that is protected or restricted from disclosure by Court order,

            statutes, or regulations, including, but not limited to: 8 U.S.C. §§ 1160(b)(5);

            1186a(c)(4), 1202(f), 1254a(c)(6), 1255a(c)(4), (5); 1304(b), and 1367(a)(2), (b), (c),

            (d); 22 U.S.C. § 7105(c)(1)(C); 8 C.F.R. §§ 208.6, 210.2(e), 214.11(e), 214.14(e),

            216.5(e)(3)(viii), 236.6, 244.16, 245a.2(t), 245a.3(n), 245a.21, 1003.27(b)-(d),

            1003.46, 1208.6, 28 C.F.R. § 0.29f, which otherwise could subject either party to civil

            or criminal penalties or other sanctions in the event of unauthorized disclosure.

       3.                                                                             otherwise make

                                                                                  covered document

or item as well as the contents or information contained therein, such that disclosing a copy,



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summary, paraphrasing, or characterization would be considered a disclosure of the document

itself for purposes of this Protective Order.

          4.

          5.

information as Confidential Information under this Protective Order.

          6.

in the Action any information that the Producing Party seeks to designate and to have treated as

Confidential Information pursuant to this Protective Order.

          7.

Action.

          8.

designated as Confidential Information.

          B.    Purpose, Scope, and Limitations of Protective Order

          1.    This Protective Order applies to discovery, pre-trial, trial, and post-trial

proceedings in this action, whether the Documents are produced by a party or a person or entity

who is not a party to this action (a      -

agents, successors, personal representatives, and assignees.

          2.

challenge the use or disclosure of information other than information designated as Confidential



this Protective Order shall not operate as an admission that any particular material is or is not (a)

confidential, (b) privileged, or (c) admissible in evidence at trial.




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         3.    The protections conferred by this Protective Order do not cover any information

that (i) is properly in the public domain; (ii) becomes part of the public domain after its

disclosure to a Receiving Party as a result of publication not involving a violation of this

Protective Order, including becoming part of the public record in this Action through trial or

otherwise; (iii) is known to or is in the possession of the Receiving Party prior to the disclosure

in this Action or obtained by the Receiving Party after the disclosure in this Action from a source

who obtained the information lawfully and under no obligation of confidentiality to the Producing

Party.

         4.    If the Confidential Information contains highly sensitive information, then the

Parties may stipulate or the Producing Party may move for the establishment of an additional



in that category, or that limits disclosure only to specifically designated counsel, Party

representative(s) whose assistance is reasonably necessary to the conduct of these cases, and who

agree to be bound by the terms of the Order provided herein or as revised with respect to such

information.

         5.

meaning of 45 C.F.R. § 164.512(e)(1)(v). All patient identifiable information shall be designated

                                                                              may be used or

disclosed in accordance with the terms of this Protective Order and 45 C.F.R. § 164.512(e)(1)(v).

         6.    This Protective Order does not govern the use by the parties of Confidential

Information in open court at any hearing or trial, but the parties reserve the right to seek relief

from the Court in connection with the intended use of Confidential Information in any such




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hearing or trial. For further guidance on this issue, please also see Section E(6) of this Protective

Order.

         7.    This Protective Order governs the disclosure, use, and handling of all Confidential

Information, regardless of the format or medium in which such Confidential Information is

generated, stored, or maintained.

         8.    Any                           Confidential Information referenced by the Producing

Party in any pleading or contained in any Document filed with the Court in this Action by the

Producing Party shall at the time of filing cease to be Confidential Information unless the

Producing Party files the un- redacted pleading or Document under seal per the procedural

requirements of L.R. 7.2.

         9.    Nothing in this Protective Order shall restrict the right of any Producing Party to

use its own Confidential Information for any purpose whatsoever, but if any such use results in a

disclosure that causes the Confidential Information to lose its designation as Confidential

Information, then it shall no longer be subject to any protection under this Protective Order.

         10.   This Protective Order applies to only disclosures, uses, and handling of

Confidential Information occurring after the entry of this Protective Order.

         11.   Neither the termination of this Action nor the termination of employment of any

person who has had access to any Confidential Information shall relieve such person of his or her

obligations under this Protective Order, which shall survive.

         12.   Any party may at any time seek modification of this Order by agreement or,

failing agreement, by motion to the Court.




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       C.      Method for Designating Confidential Information

       1.      Designations of Confidential Information shall be made by the Producing Party,

prior to or at the time of production, except as otherwise provided by this Protective Order.

       2.      The designation of Confidential Information should be limited to only those

Documents or portions of Documents that qualify under the appropriate standards or under the

definition of Confidential Information in Section A(2) of this Protective Order.

       3.      Documents produced in discovery in this Action containing confidential

information shall be                                                           Documents

produced in paper or an electronic form that allows endorsements or similar designation on the

image, the designation shall appear by the inclusion of the marking of CONFIDENTIAL

SUBJECT TO PROTECTIVE ORDER. For electronic information that is provided in native

form or a format that is not amenable to visible endorsement on the image, the file name(s) shall

begin with CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER. The media on which the

Confidential Information is provided (e.g., CD, DVD, external hard drive) also must be and

remain plainly labeled with CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER unless

and until the protection of the data within the media is removed. Any copying or transferring of

electronic files that are designated as Confidential Information must be done in a manner that

maintains the protection for all copies, including, but not limited to, maintaining the protection in

the filename(s) and the location where the copies are stored and the location where the users

access the information. Only those Documents or portions of Documents designated as

Confidential Information shall be subject to this Protective Order.

       4.      A Receiving Party may request the Designating Party to identify whether a




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in total or only in part. Within five (5) business days of the request, the Receiving Party and the

Designating Party shall confer in good faith to resolve any

identification. The parties shall memorialize in writing any identification of Confidential

Information that results from the meet and confer. If the parties cannot resolve the request to the

                             on during their conference, the Receiving Party may challenge the

designation in accordance with Section D of this Protective Order. The burden shall remain on

the Designating Party to establish that the documents or information at issue qualify as

Confidential Information under this Order.

        5.      For interrogatory answers and responses to requests for admissions, designation

of Confidential Information shall be made by placing within each interrogatory answer or

response to requests for admission asserted to contain Confidential Information the following:

CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER. Only those interrogatory answers

or responses or portions of interrogatory answers or responses designated as Confidential

Information shall be subject to this Protective Order.

        6.      For depositions, designation of Confidential Information shall be made during the

deposition on the record that should include reasons for the assertion, or by letter from counsel

within 30 days of receipt of the official deposition transcript or copy thereof (or written

notification that the transcript is available), listing the specific pages and lines of the transcript and

any exhibits that should be treated as Confidential Information. The entire deposition transcript

(including any exhibits not previously produced in discovery in this Action) shall be treated as

Confidential Information under this Protective Order until the expiration of the above-referenced

30-day period for designation, except that the deponent (and his or her counsel, if any) may

review the transcript of his or her own deposition during the 30-day period subject to this



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Protective Order and the requirement of executing the certification attached as Exhibit A. After

designation of Confidential Information is made, the following shall be placed on the front of the

original and each copy of a deposition transcript containing Confidential Information:

CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER. If the deposition was filmed, both

the recording storage medium (i.e. CD or DVD) and its container shall be labeled

CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER. The deposition transcript shall also

be accompanied by a cover letter from the Designating Party identifying the specific pages and

lines of the transcript and any exhibits (or portions of exhibits) designated as Confidential

Information. Only those pages and lines and exhibits (or portions of exhibits) designated as

Confidential Information, and their corresponding portions of video, if any, shall be subject to

this Protective Order.

       7.      For any other Document or item produced in discovery in this Action not falling

within Sections C(3), C(5) or C(6) of this Protective Order, designation of Confidential

Information shall be made by labeling the item or the                          CONFIDENTIAL

SUBJECT TO PROTECTIVE ORDER. If only a portion or portions of the information contained

in the item warrant protection as Confidential Information, it shall be accompanied by a cover

letter identifying the specific portion or portions so designated. Only the item or portions of the

item designated as Confidential Information shall be subject to this Protective Order.

       8.

Confidential Information does not qualify or no longer qualifies for protection, the Producing

Party must promptly notify all Parties that it is withdrawing the designation for the applicable

information.




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       D.      Challenging Confidential Information Designations

       1.      Prior to thirty (30) days before the final pre-trial conference, any party may object

to a designation of materials as Confidential Information. The party objecting to confidentiality

must notify, in writing, Counsel for the Producing Party of the objected- to materials and the

grounds for the objection. If the dispute is not resolved consensually between the parties within

fourteen (14) days of receipt of such a notice of objections, the Challenging Party may move the

Court for a ruling on the objection. The burden shall remain on the Designating Party to

establish that the documents or information at issue qualify as Confidential Information under

this Order. In the event any party files a motion challenging the designation or redaction of

information, the document shall be submitted to the Court, under seal, for an in-camera

inspection. The materials at issue must be treated as Confidential Information, as designated by

the producing party, until the Court has ruled on the objection, or the matter has been otherwise

resolved.

       E.      Disclosure, Use, and Handling of Confidential Information

       1.      Counsel of record are responsible for employing reasonable measures, consistent

with this Protective Order, to control access to and to secure distribution of Confidential

Information.

       2.      Confidential Information shall be disclosed, summarized, described,

characterized, or otherwise communicated or made available, in whole or in part, to only the

following persons and only as reasonably necessary for this Action:

       a. Counsel (including outside counsel) for the parties, including associated personnel

            necessary to assist counsel in this Action, such as litigation assistants, paralegals,

            interpreters, and litigation support (including e-discovery vendors), information



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            technology, information or records management, investigative, secretarial, or clerical

            personnel;

       b. Any person with prior authorized access to the Confidential Information;

       c. The named Plaintiffs and their parents (K.O., E.O., Jr. E.O., L.J., C.J., and F.C.);

       d. Witnesses, potential witnesses, and deponents, including their counsel;

       e. Court reporters and other persons not employed by this Court, retained to record or to

            transcribe testimony or argument at interviews or depositions in connection with this

            Action;

       f. Photocopying, data processing, and other support services that are reasonably

            necessary to litigation in this Action;

       g. Retained expert witnesses and consultants;

       h. Mediators or arbitrators;

       i. Any person indicated on the face of the document to be its author or coauthor, or any

            person identified on the face of the document as one to whom a copy of such

            document was sent before its production in this Action;

       j. Other persons only upon consent of the Producing Party and on such conditions as the

            Parties may agree; and

       k. This Court (including any judicial officer to whom this Court may refer this matter

            for settlement purposes) and Court personnel, including persons recording or

            transcribing testimony or argument at a conference, hearing, trial, or appeal in this

            Action.

       3.      Disclosure to the persons referenced in Subsections (E)(2)(c),(d), (g), and (j) of

this Protective Order above may only occur after the person to whom the disclosure is being



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made has been given a copy of this Protective Order and has signed a declaration in the form

                                  Furthermore, all witnesses as well as all persons referenced in

Subsection (E)(2)(c) of this Protective Order may only review Confidential Information in the

presence of counsel and may not be allowed to take possession of any Confidential Information.

       4.      Persons receiving Confidential Information pursuant to the terms of this

Protective Order are prohibited from disclosing it to any person except in conformance with this

Protective Order.

       5.      Before any materials produced in discovery, answers to interrogatories, responses

to requests for admissions, deposition transcripts, or other documents which are designated as

Confidential Information are filed with the Court for any purpose, the parties must follow the

procedural requirements of L. R. 7.2. Nothing in this Order shall be construed as automatically

permitting a party to file under seal. Further, no portion of the trial of the matter shall be

conducted under seal, unless the parties and the Court so agree, or the Court orders the sealing of

any portion of the trial of the matter upon motion of one or more of the Parties.

       6.      If the need arises for any Party to disclose Confidential Information in a

proceeding in open Court or at any hearing or trial, it may do so only after giving seven (7)

                                                                                      - and-confer,

may seek additional relief from the Court. If a hearing is scheduled to occur less than seven (7)

business days from the date of notice, the notice contemplated by this Section E(6) of this

Protective Order shall be accomplished within twenty-four (24) hours, or as soon as practicable.

The notice contemplated by Section E(6) of this Protective Order for purposes of a Party who

asserts the need to disclose Confidential Information at trial may be accomplished by provision of

a pre-trial exhibit list and resolution of any objection by the Court at a Pretrial Conference. The



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burden shall remain on the Designating Party to establish that the documents or information at

issue qualify as Confidential Information under this Order.

       7.      If any Party is (a) subpoenaed in another action, (b) served with a demand in

another action to which it is a Party, (c) served with any legal process by one not a party to this

action, or (d) otherwise compelled to respond to a request pursuant to existing independent

statutory, law enforcement, national security, or regulatory obligations imposed on a party, and

such subpoena, demand, legal process, or request seeks information or material which was

designated as Confidential Information by someone other than that Party, the Party shall give

written notice within ten (10) calendar days of receipt of such subpoena, demand, legal process,

or request to the Designating Party, and prior to compliance with the subpoena, so as to allow the

Designating Party to seek protection from the relevant court(s). Nothing in this Protective Order

shall be construed as requiring the Party or anyone else covered by this Protective Order to

challenge or appeal any order requiring production of information or material covered by this

Protective Order, or to subject itself to any penalties for noncompliance with any legal process or

order, or to seek any relief from this Court.

       8.      Except as set forth in Section 7 of this Protective Order, a Receiving Party may use

Confidential Information only in connection with prosecuting, defending, or attempting to settle

this Action and no other. The Confidential Information shall not be used by the Receiving Party

for any purpose outside of this Action. For the avoidance of doubt, the Defendant shall not use

Confidential Information produced or designated by Plaintiffs in this action in connection with

any immigration, civil, criminal, or other proceeding of any nature whatsoever to which any of

the Plaintiff children or parents are party.




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       9.      No one subject to this Protective Order shall use Confidential Information

obtained in this Action to retaliate against, intimidate, discriminate against, or harass any

individual in any manner, including in connection with any immigration, civil, criminal, or other

proceeding of any nature whatsoever to which any of the Plaintiff children or parents are party.

       F.      Inadvertent Production or Disclosure of Confidential Information

       1.      Nothing herein shall be deemed or construed as a waiver of any applicable

privilege, right of privacy, or proprietary interest with respect to any information or item. The

parties shall follow Fed. R. Civ. P. 26(b)(5)(B) with respect to any inadvertently or

unintentionally produced or disclosed Confidential Information or documents or information

protected by, or subject to, any applicable privilege, right of privacy, or proprietary interest. For



                              Producing Party.

       2.      If a Receiving Party learns that, by inadvertence or otherwise, it, or a person to

whom it has disclosed Confidential Information in accordance with this Protective Order, has

disclosed Confidential Information to any person or in any circumstance not authorized under

this Protective Order, the Receiving Party shall, upon learning of the unauthorized disclosure: (a)

promptly notify the person(s) to whom the unauthorized disclosure was made that the

unauthorized disclosure contains Confidential Information subject to this Protective Order; (b)

promptly make all reasonable efforts to obtain the return of the Confidential Information and to

prevent further unauthorized disclosures of the Confidential Information, including requesting

the person who received the unauthorized disclosure to agree to be bound by the terms of this

Protective Order by executing a declaration in the form attached as Exhibit A; and (c) within five

calendar days notify the Producing Party and all other parties of the identity of the person(s) to



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whom the unauthorized disclosure was made, the circumstances surrounding the disclosure, and

the steps taken to prevent any use or further disclosure of the Confidential Information that was

the subject of the unauthorized disclosure.

       G.      Disposition of Documents Containing Confidential Information

       1.      Except as provided in this Protective Order, within 90 days of the final termination

of this Action, whether by settlement, judgment, or other disposition or conclusion and all appeals

or opportunities to appeal therefrom, a Receiving Party shall take reasonable steps either (a) to

destroy or to delete all items designated as Confidential Information or (b) to return them to the



materials that exist on back-up tapes or similar systems. Materials that exist on back-up tapes,

systems, or similar storage need not be immediately deleted or destroyed, and, instead, such

materials may be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the Receiving Party will take reasonable steps to

limit access, if any, to the persons necessary to conduct routine IT and cybersecurity functions. In

the course of disposing of information in its possession under this paragraph, Receiving Party also

will take reasonable steps to notify persons to whom it distributed Confidential Information

pursuant to this Order that such information should be returned to Receiving Party or destroyed

by the person possessing the information with written confirmation to Receiving Party.

       a. For material that contains or reflects Confidential Information, but that constitutes or



            record for the parties shall be entitled to retain such work product in their files in

            accordance with the provisions of this Protective Order, so long as it is and remains




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            clearly marked to reflect that it contains Confidential Information subject to this

            Protective Order.

       b. Counsel of record for the parties shall also be entitled to retain an archival copy of all

            pleadings; affidavits; motion papers; trial, deposition, and hearing transcripts; legal

            memoranda; correspondence; deposition and trial exhibits; expert reports; briefs; other

            papers filed with the Court; and any other parts of the trial record, even if such material

            contains Confidential Information, so long as such material is and remains clearly

            marked to reflect that it contains Confidential Information. Even after the final

            disposition of this Action, the terms of this Protective Order shall continue to govern

            the disclosure, use, and handling of any Confidential Information unless and until its

            Designating Party agrees otherwise in writing or a court order directs.

       H.      Privacy Act

       1.      The United States is authorized to produce personal identifying information

contained within electronically stored information or hard copy documents. Any electronically

stored information or hard copy documents containing such personal identifying information will

be deemed Confidential Information, regardless of whether the electronically stored information

                                                                     SUBJECT TO PROTECTIVE



       2.      This is an order of a court of competent jurisdiction. 5 U.S.C. § 552a(b)(11).

       I.      Applicability to Parties Later Joined.

       a. If additional persons or entities become parties to this Action, they must not be given

            access to any Confidential Information until they execute and file with the Court their

            written agreement to be bound by the provisions of this Order.



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Dated: 06/14/2023


                                              /s/ Margaret R. Guzman
                                           _________________________________
                                                    The Hon. Margaret R. Guzman
                                                       United States District Judge




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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

K.O., and E.O., Jr. by and through their parents
and next fiends, E.O. and L.J.; and C.J., by and
through his father and next friend F.C.,

                      Plaintiffs,                        Civil Action No. 20-12015-MRG
       v.

UNITED STATES OF AMERICA,

                      Defendant.


                                           EXHIBIT A

                                        CERTIFICATION

I hereby declare that I have read and that I understand the Protective Order entered in the above-
captioned case. I further declare that I will comply with all of the terms and conditions of this
Protective Order, and that I will not disclose any Confidential Information, as that term is
defined in the Protective Order, in a manner that is inconsistent with the Protective Order. I will
maintain any Confidential Information in my possession including copies, notes, or other
transcriptions made therefrom in a secure manner to prevent unauthorized access to it. I
understand that any unauthorized disclosure may subject me to a ruling of contempt or other
sanction imposed by the District Court. I hereby consent to be subject to the personal jurisdiction
of the United States District Court for the District of Massachusetts with respect to any
proceedings relative to the enforcement of that Order, including any proceeding related to
contempt of that Order.


Executed this ___________ day of _______________ by ________________________________
(Print Name)

Signed ______________________________________________________




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